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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION


Abdul Aleem s/o MM Ibrahim, Jamilah Binte
Abdullah, Pok Siok Kee, Eng Ooi Hieng, Swee
Hang Danny Tan, Tong Lay Yeen Giovanna,             Case No. 1:15-cv-00085
Hooi Hian Lee, Jaryl Tan Hock Seng, Roger
Teo Kok Wei, Teo Khim Ho, Man Hong Lee,
Gatewoods Investment PTE. LTD.,
Panircelvan S/O Kaliannan, Thong Juay Koh,
Siew Geok Tong, Sze Seng Tan, Tan Chin
Hiang, Tan Sweet Keong, and Marcus Ian Tan
Guan Xing, individually and on behalf of
themselves and all others similarly situated,

                                  Plaintiffs,

       vs.

PEARCE & DURICK, and JONATHAN P.
SANSTEAD,

                               Defendants


DOMINIC WRIGHT, MARTIN LEESE,
ANDREW CHITTENDEN, WHITE ROSE                       Case No. 1:15-cv-00098
PROPERTIES, LLC, STEPHEN ROYALL,
STEPHEN ROYALL AND MARIA
THOMSON S.M.S.F., LLC, PETER
MCRAE, MCRAE FAMILY HOLDINGS,
INC., MARTIN ABSIL, MIN-WEI PETER
LIU,
ADRIEN VINCIGUERRA, GAEL
VINCIGUERRA, JAMES CAMPION,
PRABAHARAN SUBRAMANIAM,
ADRIAN SENG YEE PONG, TREVOR
LOWMAN and ANNABEL LOWMAN, on
behalf of themselves and all others similarly
situated,

                                 Plaintiffs,
       vs.

PEARCE & DURICK,

       Defendant.

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 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION
          FOR APPOINTMENT OF INTERIM LEAD COUNSEL

       Plaintiffs (as set forth in the captions above, hereinafter “Plaintiffs”) respectfully submit

this Memorandum of Law in support of their Unopposed Motion for Entry of Appointment of

Interim Lead Counsel (in the proposed form submitted herewith), and set forth as follows.

                 I.      FACTUAL AND PROCEDURAL BACKGROUND

       The two above-captioned putative class actions arise out of the well-publicized decline

and descent into receivership of a purported real estate development company known North

Dakota Developments, LLC (“NDD”), a fraudulent real estate investment program that

victimized approximately 1000 investors worldwide and sold about $62 million of unlawful

securities in the form of investment contracts. The Complaint in the first-filed class action,

Aleem v. Pearce & Durick (hereinafter referred to as “AC”) alleges legal malpractice,

negligence, unjust enrichment and third-party beneficiary of attorney-client relationship claims

against Defendants Pearce & Durick and Jonathan P. Sanstead on behalf of a class comprised of

“persons who paid for the services of Pearce & Durick and Jonathan P. Sanstead… performed in

connection with their NDD investments.” The Wright Complaint (“WC”) alleges that Defendant

Pearce & Durick actively assisted NDD in offering unregistered securities to the public. (WC ¶

1) The Wright complaint alleges that Pearce & Durick assisted the principals of NDD and

related companies in selling interests in certain modular housing units, coupled with

management agreements, which clearly constitute securities under applicable law, to investors

both in the United States and abroad. Id.

       The Aleem case plaintiffs filed a motion seeking entry of a case management order and

appointment of their counsel as Class Counsel in that matter on July 2, 2015 (Case No. 1:15-cv-

00085, ECF No. 6). The Wright plaintiffs filed a motion for appointment of their counsel as


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Interim Class Counsel on August 4, 2015 (1:15-cv-00098, ECF No. 13). These motions are

mooted by the instant motion, and are hereby withdrawn.

       The investments sold by NDD with Pearce & Durick’s assistance were in the form of

Land Lease and Management Agreements and membership units in four commercial housing

developments for workers in the Bakken oil field region of western North Dakota and eastern

Montana- so-called “man camps” intended to house workers. The four developments include

Great American Lodge - Watford City West, Great American Lodge - Culbertson, Montana,

Transhudson - Parshall, and Great American Lodge - Watford City East. (WC ¶ 2)

       The investment contracts and membership units offered for sale and sold to the investors

by NDD and its principals, with the active assistance and participation of Pearce & Durick, are

securities as defined in North Dakota Century Code (“N.D.C.C.”) § 10-04-02(19). (WC ¶ 4)

This integrated offering of securities is sometimes referred to below as the “NDD Offering.” Id.

The interests sold in the NDD Offering are clearly securities within the meaning of applicable

law. See N.D.C.C. § 10- 04-02(19); see also SEC v. W.J. Howey Co., 328 U.S. 293 (1946),

Section 2(a)(1) of Securities Act (15 U.S.C. 77b(a)(1) and Section 3(a)(10) of the Securities

Exchange Act (15 U.S.C. 77b(a)(1)) (defining “security” as including “any… participation in

any profit-sharing agreement [or]… investment contract). (WC ¶ 7) None of the securities sold

in the NDD Offering were registered with the Securities and Exchange Commission or any state

securities regulator, including the North Dakota Securities Department. (WC ¶ 6)

       The offering materials for the NDD offering also contained misrepresentations and failed

to disclose material facts, necessary to make the statements made in the offering documents, in

light of the circumstances under which they were made, not misleading, in violation of N.D.C.C.

§ 10-04-04 and N.D.C.C. § 10-04-10. (WC ¶ 9)


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       Plaintiffs and members of the putative class, upon agreeing to invest in the NDD Scheme,

were mandated to pay legal fees for Defendants to review the documents relating to their

purchases of investments from NDD. (AC ¶ 93) Defendants were aware that Plaintiffs and

members of the putative class were paying considerable legal fees- often over $1,800 per

investor- for Defendants to review documents relating to the purchase of the NDD investment

made by Plaintiffs and members of the putative class. (AC ¶¶ 94-97) The payment of legal fees

by Plaintiffs and members of the putative class to Defendants for Defendants to review such

NDD investment-related documents, and Defendants’ acceptance of such fees, created an

attorney-client relationship between Pearce & Durick and Plaintiffs. (AC ¶ 98)

       Pearce & Durick also actively assisted NDD and its principals in the NDD Offerings by

providing a U.S.-based locus for collection of the proceeds of the NDD Offering, by allowing its

escrow accounts to be used for the purpose of receiving wire transfers of investor funds, by

collecting the proceeds of purchases of the securities from investors, by collecting the

transactional documentation from each investor and compiling them for NDD and its principals,

and by providing “Opinions of Counsel” attesting to the completion of sales transactions to some

investors. (WC ¶ 10) Pearce & Durick also actively interfaced with NDD investors and

endeavored to answer questions that investors posed about NDD, the transactions they were

conducting with NDD, the status of their NDD investments, and the use of their investment

proceeds, lending a false veneer of credibility to the NDD enterprise. (WC ¶ 11) Finally,

although Pearce & Durick was under a contractual obligation to NDD investors to disburse funds

from escrow to NDD only after certain milestones in each NDD development had been reached,

in fact Pearce & Durick repeatedly disbursed funds early to NDD, without verifying that

investors’ modular units had actually been manufactured or installed. (WC ¶ 12)


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         As NDD’s sale of unregistered securities and other unlawful conduct became known to

the public in recent months, the Securities Exchange Commission brought suit against NDD and

its principals, Robert L. Gavin and Daniel J. Hogan, as well as various relief defendants, alleging

violation of the federal securities laws (including, without limitation, due to sales of unregistered

securities). See SEC v. North Dakota Developments, LLC, et al., U.S. District Court, District of

North Dakota Case No. 4:15-cv-00053. (WC ¶ 14) At the SEC’s request, a receiver, Gary

Hansen (the “Receiver”) has been appointed. According to the Receiver’s June 26, 2015 initial

report, despite diligent efforts the receiver has located only about $175,000 in cash and liquid

assets owned by NDD- although NDD is believed to have raised over $62 million in proceeds

from the NDD Offering. (WC ¶ 15)

         Plaintiffs now move this Court for the entry of Pre-Trial Order No 1 in the form

submitted herewith, which would, inter alia, appoint Peiffer Rosca Wolf Abdullah Carr & Kane,

A Professional Law Corporation (“Peiffer Rosca Wolf”), Hudson, Mallaney, Shindler &

Anderson, P.C. (“Hudson Firm”) and Law Office of Christopher J. Gray, P.C. (“Gray Firm”) as

Interim Class Counsel pursuant to Fed. R. Civ. P. 23(g)1.

II.      THE COURT SHOULD APPOINT INTERIM CLASS COUNSEL

         A.     Standard for Appointment of Class Counsel

         Pursuant to Rule 23(g), a court that certifies a class must appoint class counsel, who must

“fairly and adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B). Under

this Rule, the court evaluates counsel according to (1) their work in identifying and investigating

plaintiffs’ claims, (2) their experience in similar litigation, (3) their knowledge of applicable law,

and (4) the resources they will commit to prosecuting the action. Fed. R. Civ. P. 23(g)(1)(C)(i);

1 Allparties in the Aleem and Wright actions have stipulated to the consolidation of such actions
pursuant to Fed. R. Civ. P. 42. The parties are submitting the signed stipulation concerning
consolidation to chambers herewith.
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see Iglesias-Mendoza v. LaBelle Farm, Inc., 239 F.R.D. 363, 375 (S.D.N.Y. 2007). These criteria

are met by the three Proposed Class Counsel. Full firm resumes accompany this motion. See

Declaration of J. Barton Goplerud (“Goplerud Decl.) dated August 26, 2015, Exhs. 1-3.

        B.      The First Factor: Proposed Class Counsel Have Spent Significant Time and
                Devoted Substantial Resources to This Action

        The Proposed Class Counsel in this case have invested substantial time and effort

identifying and investigating claims against Defendants on behalf of the putative class. Counsel

have interviewed scores of class members, reviewed voluminous e-mails and other

documentation obtained from class members concerning their interactions with NDD and

Defendants, and obtained significant documentation concerning NDD and its relationship with

Defendants and class members. Counsel’s pre-filing investigation included interviewing many

NDD investors about their losses, reviewing class members’ contracts with NDD and advertising

materials that they reviewed in connection with their NDD investments, review of e-mails and

other communications between class members and Pearce & Durick, review of public domain

information including news articles and Internet postings concerning NDD and Pearce &

Durick’s activities, and legal research concerning liability under the North Dakota Securities Act

(Chapter 10-04, N.D.C.C.) and other applicable law, among other activities. Counsel’s

investigation and development of the facts continued after the cases where filed. Together,

counsel have expended hundreds of hours identifying and investigating Plaintiffs’ claims. Thus,

the first Rule 23(g) factor is readily satisfied.




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        C.     The Second Factor: Proposed Class Counsel Have Substantial Experience In
               Similar Litigation

        The second factor also supports the appointment of Proposed Class Counsel. As fully set

forth in Exhibits 1-3 to the Goplerud Decl., proposed Interim Co-Lead Counsel have extensive

experience in the areas of professional malpractice, insurance coverage, securities litigation and

other class action and complex litigation. In that regard, the Peiffer Rosca Wolf lawyers, the

Hudson Law Firm, and the Gray Firm have been responsible for significant successful results on

behalf of injured investors and classes in several securities class actions and other complex

litigation.

        D.     The Third Factor: Proposed Class Counsel Have Proven Knowledge of the
               Applicable Law

        The third factor to be considered similarly supports the appointment of Proposed Class

Counsel. Because of their extensive experience in representing plaintiffs in complex litigation,

Proposed Class Counsel have a considerable background in federal and state securities laws and

other related claims. Proposed Class Counsel also have extensive experience in insurance

coverage issues and professional malpractice, and related litigation.

        The firms’ direct, relevant experience litigating class and complex actions, including

cases under the securities laws and cases involving Ponzi schemes, merits appointment of the

firms as interim class counsel in these actions. Counsel have demonstrated knowledge of the

applicable law, and articulated a well-founded basis for professional liability arising from legal

services provided by Pearce & Durick to Plaintiffs (and legal fees paid by Plaintiff to Pearce &

Durick). In addition, Proposed Class Counsel have demonstrated knowledge of the law by

articulating a basis for liability under the North Dakota Securities act that, subject to proof, may


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result in a finding of joint and several liability against Pearce & Durick for the wrongful acts of

NDD. Plaintiffs seek recovery from Defendants of, inter alia, statutory damages arising from

Pearce & Durick’s actions as an agent of NDD and active assistance of NDD in connection with

the NDD Offering. See N.D.C.C. § 10-04-17 (providing that every “…agent of or for [a] seller

who shall have participated or aided in any way in making such sale shall be jointly and

severally liable to such purchaser.”)

       E.      Proposed Class Counsel Have All Resources Necessary to Represent the
               Proposed Class

       Finally, Proposed Class Counsel have the ability and commitment to devote substantial

resources to completing their representation of Plaintiffs and the proposed class. Proposed Class

Counsel have a history of committing ample resources to class action litigation and advancing

substantial costs to plaintiffs to fund the litigation, and will do the same here.

                                          CONCLUSION

       For the foregoing reasons and authorities, Plaintiffs respectfully request that the Court

grant the instant motion, enter Pre-Trial Order No. 1 in the form submitted herewith, and grant

such other and further relief as the Court may deem just and proper.

       Dated: August 26, 2015


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